Case 2:85-cv-04544-DMG-AGR Document 435 Filed 06/21/18 Page 1 of 4 Page ID #:17531




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16                    UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     JENNY LISETTE FLORES; et al.,        )   Case No. CV 85-4544-DMG
19                                        )
20          Plaintiffs,                   )   DEFENDANTS’ EX PARTE
                                          )   APPLICATION FOR LIMITED
21               v.                       )   RELIEF FROM SETTLEMENT
22                                        )   AGREEMENT;
     JEFFERSON B. SESSIONS III,           )
23
     Attorney General of the              )   MEMORANDUM OF POINTS AND
24   United States; et al.,               )   AUTHORITIES;
25
                                          )
            Defendants.                   )   DECLARATION.
26                                        )
27                                        )   [HON. DOLLY M. GEE]
                                          )
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 1                          Defendants’ Ex Parte Application for
                          Limited Relief from Settlement Agreement
 2
 3          Pursuant to Local Rule 7-19, Defendants hereby apply ex parte for a limited

 4   relief from the Flores Settlement Agreement to (1) permit family units to be held
 5
     together at ICE family residential centers pending the completion of removal
 6
 7   proceedings and (2) exempt ICE family residential centers from the licensing
 8   provisions of the Agreement.
 9
            Counsel for Defendants, August E. Flentje, spoke with counsel for Plaintiffs,
10
11   Peter Schey, by phone on June 20, 2018. See Declaration of August E. Flentje ¶ 3
12
     (attached hereto). Mr. Flentje advised Mr. Schey of the relief that would be sought in
13
14
     this motion, and the timing for filing. See id.

15          This ex parte application is based upon this application, the attached
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     memorandum of points and authorities, the attached declaration, and the records in
17
18   this case.

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 2
     DATED:    June 21, 2018          Respectfully submitted,

 3
                                      CHAD A. READLER
 4                                    Acting Assistant Attorney General
 5
                                      /s/ August E. Flentje
 6
                                      AUGUST E. FLENTJE
 7                                    Special Counsel to the Assistant Attorney
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                                      General
                                      Civil Division
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10                                    WILLIAM C. PEACHEY
                                      Director
11                                    COLIN KISOR
12                                    Deputy Director
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                                      /s/ Jeffrey S. Robins
14                                    JEFFREY S. ROBINS
15                                    Assistant Director
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25                                    Attorneys for Defendants
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 1                             CERTIFICATE OF SERVICE

 2
           I hereby certify that on June 21, 2018, I served the foregoing pleading on all
 3
 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5   system.
 6
 7
 8
                                                  August E. Flentje
 9                                                Attorney for Defendants
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